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IN THE HIGH COURT OF JUSTICE
                                      D AND WALES
BUSINESS AND PROPERTY COURTS OF ENGLAND
KING’S BENCH DIVISION
COMMERCIAL COURT
Before the Honourable Mr Justice Butcher
5 March 2024


BETWEEN:
                            (1) TRAFIGURA PTE LTD
                                               TD
                        (2) TRAFIGURA INDIA PVT
                                              T LTD
                                                         Claimants/Applicants
                              (1) PRATEEK GUPTA
                                              A
                         (2) UIL (SINGAPORE) PTE LTD
                                               D
                            (3) UIL MALAYSIA LTD
                              (4) TMT METALS AG
                           (5) TMT METALS (UK) LTD
                                               D
                            (6) SPRING METAL LTD
                                               ED
                           (7) MINE CRAFT LIMITED
                     (8) NEW ALLOYS TRADING PTE LTD
                                                       Defendants/Respondents




                                     ORDER




                                PENAL NOTICE
IF YOU, PRATEEK GUPTA, UIL (SINGAPORE) PTE LTD, UIL MALAYSIA LTD,
TMT METALS AG, TMT METALS (UK) LTD, SPRING METAL LTD, MINE CRAFT
LIMITED OR NEW ALLOYS TRADING PTE LTD DISOBEY THIS ORDER YOU
MAY BE HELD IN CONTEMPT OF COURT AND MAY BE IMPRISONED, FINED
OR HAVE YOUR ASSETS SEIZED.
ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES ANYTHING
WHICH HELPS OR PERMITS THE RESPONDENT TO BREACH THE TERMS OF
THIS ORDER MAY ALSO BE HELD TO BE IN CONTEMPT OF COURT AND MAY
BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.

UPON the Order of Mr Justice Foxton dated 8 February 2023 (the "Proprietary Injunction")

AND UPON the Order of Mr Justice Bright dated 24 February 2023 amending and continuing
the Proprietary Injunction

AND UPON the application dated 13 October 2023 made by the Claimants/Applicants (the
"Application")

AND UPON hearing counsel for the Claimants/Applicants, and the Sixth to Eighth
Defendants/Respondents being neither present nor represented

AND UPON reading the evidence

IT IS ORDERED THAT:

1.   The Sixth to Eighth Respondents shall by 4pm on 22 April 2024, to the best of their
     ability and after making all reasonable enquiries (“the Enquiries”), provide to the
     Claimants' solicitors full particulars of, and supporting documentation in relation to:


     1.1. What was received in exchange for the payments made using the Claimants'
           Proprietary Funds (as defined in the Proprietary Injunction) set out in Schedule 1
           to this Order (the "Substitute Assets");


     1.2. Whether and to what extent (and if so, where and how precisely) any of the Sixth
           to Eighth Respondents still hold all or any part of the Substitute Assets;


     1.3. If and to the extent that any of the Sixth to Eighth Respondents do not still hold all
           or any part of the Substitute Assets, what was done with the same, including full
           particulars of the identity of the purchaser or other transferee and what, if anything
           was received in return for them (the "Further Substitute Assets");


     1.4. A full narrative of what became of the Further Substitute Assets and the traceable
           proceeds thereof (including any further substitute assets or other benefit received
           by the Sixth to Eighth Respondents in return for the traceable proceeds of the
          Proprietary Funds) and full particulars of the identity of the purchaser(s) or other
          transferee(s); and

     1.5. The Enquiries.


2.   The information to be provided pursuant to paragraph 1 above shall be provided by way
     of an affidavit from a relevant officer of each of the Sixth to Eighth Respondents (to
     which the relevant documents are exhibited).


3.   As between the Claimants and the Sixth to Eighth Respondents, costs in the case.


4.   This Order shall be served by the Claimants on the Sixth to Eighth Respondents.
